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                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
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13   UNITED STATES OF AMERICA,                        )   CASE NO. CR 20-249 RS (LB)
                                                      )
14           Plaintiff,                               )   UNITED STATES’ RESPONSE TO COURT
                                                      )   ORDER REGARDING RETURN OF THE LEVIN
15      v.                                            )   PHONE [ECF NOS. 234, 235]
                                                      )
16   MARCUS ANDRADE,                                  )   Court: Hon. Laurel Beeler, Courtroom B, 15th Fl.
                                                      )
17           Defendant.                               )
                                                      )
18

19           On November 2, 2023, the Court held a hearing on Defendant Andrade’s motion to compel the
20 government to produce an image of Alexander Levin’s cell phone, which was seized pursuant to a

21 search warrant in the Southern District of New York in connection with an entirely separate

22 investigation. Mr. Levin is not a defendant or a party in this Northern District of California case.

23           At the November 2, 2023, hearing, the Court ordered the government to update the Court by
24 November 9, 2023, about whether an image of Mr. Levin’s cell phone has been returned to Mr. Levin,

25 and if not, whether the government objects to doing so. ECF Nos. 234, 235. In accordance with the

26 Court’s order, the government provides the following update.
27           The government does not object to returning Mr. Levin’s cell phone to Mr. Levin. More than
28 one year ago, prosecutors in the Southern District of New York asked Mr. Levin’s counsel where

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 1 counsel wanted Mr. Levin’s physical property to be sent, or whether defense counsel wanted to pick up

 2 Mr. Levin’s devices from the FBI. Mr. Levin’s counsel never responded to the Government. In

 3 November 2023, defense counsel asked the FBI to mail Mr. Levin’s devices to defense counsel’s office,

 4 which FBI-New York has done or intends to do shortly.

 5

 6

 7 DATED: November 9, 2023                     Respectfully submitted,

 8                                              ISMAIL J. RAMSEY
                                                United States Attorney
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10                                              ____/s/____________________
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11                                              Assistant United States Attorney
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